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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAIʻI


 UNITED STATES OF AMERICA,              ) CR. NO. 23-00003 LEK
                                        )
              Plaintiff                 ) DEFENDANT’S SENTENCING
                                        ) MEMORANDUM
       vs.                              )
                                        )
 MARTIN KAO,                            )
                                        )
              Defendant.                )
                                        )

                DEFENDANT’S SENTENCING MEMORANDUM

      The contours of Martin Kao’s representation are a bit unusual in that he has

two cases with separate counsel, and yet the conduct for both is grouped together

for sentencing purposes. This sentencing memorandum will discuss Mr. Kao’s

background and history, but for case-related discussions, it will focus on the

criminal conduct described in Cr. No. 23-00003 LEK regarding falsifying documents

to obtain a mortgage loan. That the criminal conduct had minimal negative impact

on the victim, that the criminal conduct did not impact the guideline determination,

and the seriousness of the collateral consequences Mr. Kao experienced, together,

provide a sufficient basis for the Court to conclude that no additional imprisonment

is warranted for this case. Moreover, Mr. Kao has demonstrated remorse and a

profound understanding of his immoral behavior. This, too, supports a conclusion

that no additional imprisonment is necessary to meet the purposes of sentencing.
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                        Background and Characteristics

The Bones are Good

       Martin has had substantial role models in his life who taught him how to

work hard and overcome hardship. Martin was born in Taipei, Taiwan, and when

he was four years old his parents followed Martin’s aunt to the United States, who

had first made her way here looking for a better life. His early memories of the

United States were growing up in the Bay Area, primarily San Francisco and

Sacramento. His parents owned a liquor store and convenience store, and the family

lived above it. They were poor, very poor, such that Martin’s childhood was replete

with the pangs of poverty. His father, who has a master’s degree in engineering

from Taiwan, was later able to find work at a company called Cable Data. His mom,

too, found employment that would lead to stability for their family. Martin also

contributed to the family by working at fast food restaurants when he was in high

school. These experiences provided crucial lessons to Martin about the importance

of working hard, and notably he saw that such hard work can lead to success.

       Certainly, as a young adult, Martin understood this and exemplified these

attributes. Martin’s brother-in-law, Chris Michael T. Lam 1, has known Martin since

he was in his 20s and was dating Chris’ sister, Tiffany (Martin’s current wife). He

describes how Martin had humble roots, driving an “old beat-up green truck” and

doing his laundry at the laundromat. Exhibit A, 001. Martin was handy and could




   1 Martin has two brothers-in-law with almost identical names: Chris Lam and
   Chris Michael T. Lam.
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repair things around the house. Id. Martin generously provided his knowledge,

time, and effort to the family house so they could fix some of its run-down aspects

while saving money. Id. Martin’s commitment to Tiffany and their family is evident,

but especially so when, as a newly married couple, they opted to live with Tiffany’s

mother. Id. Martin’s other brother-in-law, Chris Lam, similarly describes how he

remembers Martin some twenty years ago. Exhibit A, 003. There is no doubt that

Martin understands the meaning of working hard and is a fiercely loyal provider for

his family. Similarly, to be able to rise from the circumstances of his childhood

proves that he is tenacious and driven.

      These attributes afforded him respect, a wife that loves him, and in-laws who

are as close to him as if related by blood. Even though he later applied these

attributes to acquire wealth and power through immoral methods, that his

foundation is solid and he has the tools to be successful through legitimate means

bodes well for his future, especially if there are assurances that he has learned a

lifelong lesson from these prosecutions.

Lessons Learned

      Since his arrest in 2020, Martin has taken concrete steps which demonstrate

he is serious about getting back to this good foundation. First, working at The

Cheesecake Factory as a line cook for two years is certainly commendable and a

clear indication that he understands he needed to make dramatic changes in his

life. It is worth noting that all individuals allowed to be in the community while

their cases are pending are expected to find employment if able to do so. Not all,



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however, comply. Martin did. And he did so in an impressive fashion. He did not try

to just barely comply, he did not complain that the work was beneath him, and at 50

years old, he did not shy away from a job that was physically demanding. As Cody

Thomas, The Cheesecake Factory Waikiki Executive Kitchen Manager, describes,

he had little expectations for Matin. “To be blunt, people like him do not and cannot

survive doing one of the most demanding and difficult tasks in one of the busiest

restaurants in the world.” Exhibit A, 006. But Martin didn’t just not fail, he thrived.

“He humbly embraced any and every task we requested of him. Even beyond

cooking, he would work off hours helping to do general maintenance around the

restaurant. . . . His humility and work ethic has been an admirable quality in our

restaurant that is not often seen.” Id. That he indeed used the time on pretrial

release to genuinely reflect on what matters in this world and did not act like he

was better than anyone is evident in the kind words from his Cheesecake Factory

peers. Cheyenne, a coworker, jokingly encourages him by reminding him that he

can survive anything his future holds because he’s made it through some of the

worst days already, the days they endured together filled with “all the omelettes.”

Id. 007. Martin did not simply pay lip service to his pretrial condition to work; he

utilized this opportunity to remind himself of the things that matter most in this

world which is his family and honesty, not a life in pursuit of wealth or power.




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      Indeed, Martin lost his way and illegally sought power and wealth, but since

his arrest he has taken stock of what matters and has done so much to prove to

himself and others that the 20-year-old Martin willing to pitch for the right reasons

and lends a hand when someone needs it is still in him.

      There are several tangible negative consequences Martin has already

suffered because of his criminal conduct. He has no hopes of returning to a job in

the field for which he is educated in and has experience in. He has likely lost the

ability to work in any high-power capacity. Instead, in his 50s, he must start anew

in establishing himself. Martin talks extensively about the shame and pain he has

caused those he loves the most and how that is one of the biggest consequences for

his actions. He recognizes that he probably does not deserve their love and loyalty;

he regrets so much of what he has done because of that palpable consequence. All of

this suggests, for the fraudulent documents he submitted in applying for his

mortgage, there need not be any additional imprisonment.



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                                      Offense Conduct

    Not All Crimes Are Created Equal

          When a crime is committed, there is always harm. Discussing the relative

    harm in this case should not be taken as undermining that core principle, nor

    diminishing the importance of following the law. That Martin understands his

    wrongdoing, as discussed thoroughly above, is crystal clear. To recap, he has

    pleaded guilty, expressed remorse, and conducted himself in a lawful, humble way

    since his arrest in this case. It is still appropriate advocacy and appropriate for the

    Court to consider the relative level of harm this case has caused. It is relatively

    attenuated, especially in terms of financial crimes which often impact victims in

    catastrophic ways. In this case, the primary harm that was inflicted is the expenses

    the bank incurs to combat fraud and with litigation in recouping its money.

    Moreover, it cannot be denied that such expenses are often passed on to the

    consumer such that the public is negatively impacted.

          These consequences, however, are further attenuated by the facts of this case.

    First, it is not clear that Martin would not have qualified for this mortgage if he had

    submitted accurate documents. That determination was never made during this

    investigation because the bank did not analyze whether the fraudulent documents

    submitted were material to the loan; instead it said they were considered and any

    fraudulent document would be a disqualification to receiving a loan. 2 PSR ¶ 56.



2      The PSR indicates it is aggravating that Martin received a mortgage for
which he was not entitled to, but this was not established in the investigation. Given
Martin’s salary at the time, and that the balance in his investment accounts at the
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       Second, since the mortgage was issued in June 2020, a conservative estimate

is that $400,000 in payments were made to the bank. Finally, the bank will likely be

first in line as a secured creditor when it comes time to recoup funds from the sale

of the home, which is valued far in excess of the loan. That is, unlike most fraud

cases, the victim (bank) will likely be made whole. While Martin’s conduct was

certainly symptomatic of his immoral mindset during that period in his life, it has

not caused substantial harm.

       For the reasons set forth in this memorandum, as well as what will be argued

at his sentencing hearing, the defense submits that no further incarceration in this

case is appropriate.

       DATED: Honolulu, Hawaiʻi, February 7, 2025.



                                         /s/ Melinda K. Yamaga
                                        MELINDA K. YAMAGA
                                        Attorney for Defendant
                                        MARTIN KAO




end of 2019 were sufficient to collateralize the loan, it seems likely Martin would
have qualified for the loan regardless of the fraudulent documents.
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